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EXHIBIT K




Monaco case – Wyoming Board of Medicine – Findings of fact and Conclusions of
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                        IN THE OFFICE OF ADMINISTRATIVE HEARINGS
                                   UPON REFERRAL FROM


                             THE WYOMING BOARD OF MEDICINE



DAVID M. SKOLNICK, D.O. and
MS. CISSY DILLON,

         Petitioners,
                                                               OAH DOCKET NO. 12-110-052
                                                               (BOM DOCKET NO. 12-08)

JOHN H. SCHNEIDER, JR., M.D.,

         Respondent.

                        RESPONDENT'S PROPOSED FINDINGS OF FACT
                                  AND CONCLUSIONS OF LAW



         Respondent, John H. Schneider, Jr., M.D., by and through his attorneys, Stephen H. Kline

and Stephenson D. Emery, hereby submits his Proposed Findings of Fact and Conclusions of

Law:


                                     A, FINDINGS OF FACT

1)     John H Schneider M.D. is a board certified, spine fellowship trained, neurosurgeon who
       has practiced in Wyoming since October 1997. He maintains license number 5973A. He
       also presently holds licenses in the states of Utah and Montana. (Ex. L-8 p. 1, lines 9-11
       and Trial Tr. Vol. 1 p. 62, line 16 though page 64 line 15).

2)     Dr. Schneider's area of concentration is in treating complex spinal degenerative conditions
       including, but not limited to, reconstructive spine surgeries. (Trial Tr. Vol. 1 p. 62, line 16
       through p. 63, line 25; Trial Tr. Vol. 1, p. 68, lines 11 through 21; Trial Tr. Vol. 2, p. 412,
       line 15 and p. 414, line 21).

3)     Dr. Schneider's practice includes extensive experience with the care and management of
       complex high demand pain patients for whom he performs both pain management surgeries
       and medical pain management. (Trial Tr. Vol. 1 p. 65, line 12 through p. 69, line 7; Trial
       Tr. Vol. 2, p.412, lines 15 through p. 415, line 10).




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